                                  Case 24-10138-MFW                  Doc 1       Filed 02/01/24           Page 1 of 26


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                InVivo Therapeutics Holdings Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1500 District Avenue
                                  Burlington, MA 01803
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.invivotherapeutics.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                  Case 24-10138-MFW                     Doc 1        Filed 02/01/24            Page 2 of 26
Debtor    InVivo Therapeutics Holdings Corp.                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5417

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    InVivo Therapeutics Holdings Corp.                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      InVivo Therapeutics Corporation                              Relationship               Affiliate

                                                    District    Delaware                    When      2/01/24                Case number, if known      24-10137


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   InVivo Therapeutics Holdings Corp.                                          Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    InVivo Therapeutics Holdings Corp.                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 1, 2024
                                                  MM / DD / YYYY


                             X /s/ Richard Christopher                                                    Richard Christopher
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Matthew B. McGuire                                                      Date February 1, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew B. McGuire
                                 Printed name

                                 Landis Rath & Cobb LLP
                                 Firm name

                                 919 Market Street
                                 Suite 1800
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 467-4400                Email address      mcguire@lrclaw.com

                                 4366 DE
                                 Bar number and State




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                                             InVivo Therapeutics Holdings Corp.

                                   Authorization for Filing Voluntary Petition Under
                                 Chapter 11 of the Bankruptcy Code and Related Matters

                   The undersigned Directors of the Board (the “Board”) of InVivo Therapeutics Holdings
            Corp., a Nevada corporation (the “Company”), hereby adopt the following resolutions (the
            “Resolutions”):

                     WHEREAS, a Special Meeting of the Board was held on January 31, 2024;

                 WHEREAS, the Board has considered the financial and operational conditions of the
            Company;

                    WHEREAS, the Board has reviewed, considered, and received the recommendation of
            senior management of the Company and the advice of the Company’s professionals and advisors
            with respect to the options available to the Company, including the possibility of pursuing a
            restructuring or sale of the Company’s business and assets under chapter 11 of title 11 of the
            United States Code (as amended or modified, the “Bankruptcy Code”);

                    NOW, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
            alternatives presented to it and the recommendations of senior management of the Company and
            the advice of the Company’s professionals and advisors, the Board has determined in its business
            judgment that it is in the best interest of the Company, its creditors, shareholders, employees,
            other interested parties and stakeholders that a voluntary petition be filed by the Company under
            chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
            Delaware and the filing of such petition is authorized hereby; and it is

                    FURTHER RESOLVED, that the members of the Board and any other officer or person
            designated and so authorized to act (collectively, the “Authorized Persons”) hereby are, and each
            of them is, authorized and empowered to (a) execute, verify and file on behalf of the Company
            all documents necessary or appropriate in connection with the filing of said bankruptcy petition,
            including, without limitation, all petitions, affidavits, declarations, schedules, statements of
            financial affairs, lists, motions, applications, pleadings, and other papers or documents in
            connection with such chapter 11 petition; (b) take and perform any and all actions deemed
            necessary and proper to obtain such relief as authorized herein and in connection with the
            Company’s chapter 11 case; (c) appear as necessary at all bankruptcy proceedings on behalf of
            the Company; and (d) pay all such expenses where necessary or appropriate in order to carry out
            fully the intent and accomplish the purposes of the resolutions adopted herein; and it is

                    FURTHER RESOLVED, that the retention Sonoran Capital Advisors, LLC
            (“Sonoran”) and the execution of any retention agreements, the payment of any retainers, fees or
            expenses, and the approval of any matters related thereto, be and hereby are ratified, adopted,
            and approved in all respects as the acts and deeds of the Company and the Authorized Persons
            are, and each of them hereby is, authorized and directed to immediately upon and after the filing
            of the bankruptcy case execute and cause to be filed an application for authority to retain
            Sonoran as the Company’s financial advisor; and it is

            {1394.001-W0074056.}
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                             Case 24-10138-MFW               Doc 1       Filed 02/01/24   Page 7 of 26




                    FURTHER RESOLVED, that the retention of Landis Rath & Cobb LLP (“Landis Rath
            & Cobb”) and the execution of any retention agreements, the payment of any retainers, fees or
            expenses, and the approval of any matters related thereto, be and hereby are ratified, adopted,
            and approved in all respects as the acts and deeds of the Company and the Authorized Persons
            are, and each of them hereby is, authorized and directed to immediately upon and after the filing
            of the bankruptcy case execute and cause to be filed an application for authority to retain Landis
            Rath & Cobb as the Company’s restructuring and bankruptcy counsel; and it is

                    FURTHER RESOLVED, that the retention of Wilmer Cutler Pickering Hale and Dorr
            LLP (“Wilmer Hale”) and the execution of any retention agreements, the payment of any
            retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
            ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
            Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
            and after the filing of the bankruptcy case execute and cause to be filed an application for
            authority to retain Wilmer Hale as the Company’s special corporate counsel; and it is

                   FURTHER RESOLVED, that the retention of SSG Advisors, LLC (“SSG”) and the
            execution of any retention agreements, the payment of any retainers, fees or expenses, and the
            approval of any matters related thereto, be and hereby are ratified, adopted, and approved in all
            respects as the acts and deeds of the Company and the Authorized Persons are, and each of them
            hereby is, authorized and directed to immediately upon and after the filing of the bankruptcy case
            execute and cause to be filed an application for authority to retain SSG as the Company’s
            investment banker; and it is

                    FURTHER RESOLVED, that the retention of Kurtzman Carson Consultants LLC
            (“KCC”) and the execution of any retention agreements, the payment of any retainers, fees or
            expenses, and the approval of any matters related thereto, be and hereby are ratified, adopted,
            and approved in all respects as the acts and deeds of the Company and the Authorized Persons
            are, and each of them hereby is, authorized and directed to immediately upon and after the filing
            of the bankruptcy case execute and cause to be filed an application for authority to retain KCC as
            the Company’s notice and claims agent; and it is

                    FURTHER RESOLVED, that all instruments, agreements, certificates, consents,
            waivers or other documents heretofore executed and delivered (or caused to be executed and
            delivered) and all acts lawfully done or actions lawfully taken by the Authorized Persons in
            connection with the chapter 11 case or any further action to seek relief on behalf of the Company
            under chapter 11 of the Bankruptcy Code, or in connection with the chapter 11 case, or any
            matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all
            respects as the acts and deeds of the Company; and it is

                     FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
            Authorized Persons or the Board in the name of and on behalf of the Company in furtherance of
            the purpose and intent of any or all of the foregoing resolutions, which acts, actions and
            transactions would have been approved by the foregoing resolutions except that such acts were
            taken before the resolutions were adopted, be, and hereby are, ratified, confirmed, and approved
            in all respects.

            {1394.001-W0074056.}                                     2
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                    IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date
            first written above.

            /s/
            C. Ann Merrifield, Chair

            /s/
            Richard Toselli, M.D., Director

            /s/
            Christina Morrison, Director

            /s/
            Richard J. Roberts, Ph.D., Director

            /s/
            Robert J. Rosenthal, Ph.D., Director




            {1394.001-W0074056.}                                     3
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Official Form 201A (12/15)

[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and
Exchange Commission pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11 of the Bankruptcy Code, this Exhibit “A” shall be
completed and attached to the petition.]

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

INVIVO THERAPEUTICS CORPORATION, et                               Case No. 24-______ (___)
al., 1

                          Debtors.


                 Attachment to Voluntary Petition for Non-Individuals Filing for
                                Bankruptcy under Chapter 11

   1. If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-37350.

   2. The following financial data is the latest available information and refers to the Debtors’
condition on September 30, 2023.

    a. Total assets                                                                   $9,584,000.00

    b. Total debts (including debts listed in 2.c., below)                            $666,000.00

    c. Debt securities held by more than 500 holders

                                                                                                           Approximate
                                                                                                           number of
                                                                                                           holders:
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                              N/A
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                              ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                              ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                              ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                              ____________


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: InVivo Therapeutics Corporation (6670) and InVivo Therapeutics Holdings Corp. (8166). The
Debtors’ mailing address is 1500 District Avenue, Burlington, MA 01803.


{1394.001-W0071698.}
Official Form 201A                    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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    d. Number of shares of preferred stock                                                          0
    e. Number of shares common stock                                                                3,105,466

Comments, if any: There are 2,380,394 warrants outstanding as of February 1, 2024.

   3. Brief description of debtor’s business: The Debtors are a research and clinical-stage
biomaterials and biotechnology company with a focus on treatment of spinal cord injuries.

   4. List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor: Brice Foose




{1394.001-W0071698.}
Official Form 201A             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                               Case 24-10138-MFW                     Doc 1         Filed 02/01/24                Page 11 of 26


Fill in this information to identify the case:
Debtor name InVivo Therapeutics Holdings Corp.
United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                            Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
ARE-MA Region No.                                   Lease                                                  $54,527.00                        $0.00              $54,527.00
59, LLC                   cjakubowski@are.c
One Kendall Square        om
- Bldg 1400
Cambridge, MA
02139
Nasdaq Office of                                    Trade Debt                                             $49,500.00                        $0.00              $49,500.00
General Counsel           ndqbilling@nasdaq
805 King Farm             .com
Boulevard
Rockville, MD 20850
Thrive                                              Trade Debt                                             $18,659.58                        $0.00              $18,659.58
25 Forbes Blvd,           BillingDepartment
Suite 3                   @thrivenetworks.c
Foxboro, MA 02035         om
Say                                                 Trade Debt                                             $11,703.21                        $0.00              $11,703.21
Communications            billing@saytechnol
85 Willow Road            ogies.com
Menlo Park, CA
94025
Continental Stock                             Professional                                                   $3,698.14                       $0.00                $3,698.14
Transfer & Trust Co.      billing@continental Services
One State Street          stock.com
Plaza, 30th Floor
New York, NY 10004
Solium Capital LLC                                  Trade Debt                                               $2,500.00                       $0.00                $2,500.00
58 South River            Billing-MSatWork@
Drive, Suite 401          MorganStanley.co
Tempe, AZ 85281           m
WCG Clinical, Inc.                                  Trade Debt                                                  $334.00                      $0.00                  $334.00
dba: WCG IRB LLC.         ar@wcgclinical.co
212 Carnegie Center       m
Ste 301
Princeton, NJ 08540




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

INVIVO THERAPEUTICS CORPORATION, et                          Case No. 24-______ (___)
al., 1
                                                             (Joint Administration Pending)
                          Debtors.


    CONSOLIDATED STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO
        RULES 1007(a)(1), 1007(a)(3), AND 7007.1 OF THE FEDERAL RULES
                        OF BANKRUPTCY PROCEDURE

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors-in-possession (each, a “Debtor”) hereby state as follows:

         1.       The mailing address of Debtor InVivo Therapeutics Holdings Corp. (“InVivo”) and

its subsidiaries is 1500 District Avenue, Burlington, Massachusetts 01803.

         2.       As of the Petition Date, InVivo has only common outstanding stock and no

corporation owns 10% or more of its stock.

         3.       Debtor InVivo Therapeutics Corporation is a wholly owned subsidiary of InVivo.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: InVivo Therapeutics Corporation (6670) and InVivo Therapeutics Holdings Corp. (8166). The Debtors’
mailing address is 1500 District Avenue, Burlington, MA 01803.
{1394.001-W0074066.}
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                                                   United States Bankruptcy Court
                                                               District of Delaware
 In re    InVivo Therapeutics Holdings Corp.                                                              Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Akita Partners, LLC                                                          163                                     Warrant
187 Dorado Beach East
Attn: Tim Beckett
Dorado, PR 00646

Alberto Berrocales                                                           200                                     Warrant
6618 Stardust LN
Orlando, FL 32818

Alkesh R Patel & Jyoti Patel                                                 1                                       Common Stock
JT TEN
5749 CAPILANO DR
San Jose, CA 95138-2364

Alpha Capital Anstalt                                                        17,000                                  Warrant
Lettstrasse 32, 9490 Vaduz
Liechtenstein

ALTA PARTNERS LLC                                                            2,110                                   Warrant
29 Valentines Lane
Attn: Steven Cohen
Old Brookville, NY 11545

Amiel Kornel                                                                 1                                       Common Stock
664 ELIZABETH ST
San Francisco, CA 94114-3230

Andrew H Kaufman                                                             1                                       Common Stock
277 PARK AVE
New York, NY 10172-0003

Andrew Smukler                                                               6,000                                   Warrant
110 Brooks Bend
Princeton, NJ 08540

Ann Merrifield                                                               146                                     Warrant
48 West Cedar Street
Boston, MA 02114

Armistice Capital Master Fund, Ltd.                                          1,794,425                               Warrant
305 West 72nd Street, Apt 7D
Attn: Jay Bautista
New York, NY 10023




Sheet 1 of 13 in List of Equity Security Holders
                             Case 24-10138-MFW                  Doc 1    Filed 02/01/24      Page 14 of 26


In re:    InVivo Therapeutics Holdings Corp.                                          Case No.
                                                                        Debtor(s)



                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Balance Account for Unexchange Shares of                                 277                        Common Stock
UNX4, UNX3, UNX2, UNX1
New York, NY 10004

Beth L Gottshall                                                         1                          Common Stock
9225 INDEPENDENCE WAY
Fort Myers, FL 33913-7076

Bigger Capital Fund, LP                                                  5,455                      Warrant
175 W Carver St
Huntington, NY 11743

BJI FINANCIAL GROUP INC                                                  1,120                      Warrant
111 Sandalwood Drive
Marlboro, NJ 07746

Brian Kirby & Mona Kirby                                                 1                          Common Stock
888 BRIARWOOD RD
Newtown Square, PA 19073-2620

Brio Capital Master Fund, Ltd.                                           12,500                     Warrant
100 Merrick Rd, Suite 401W
Rockville Centre, NY 11570

Brittany Cairns                                                          1                          Common Stock
22 LIBERTY DR UNIT 5L
Boston, MA 02210

Cede & Co                                                                3,105,126                  Common Stock
570 WASHINGTON BLVD
Jersey City, NJ 07310-1617

Craft Capital                                                            2,173                      Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Alta Partners
Garden City, NY 11530

Craft Capital                                                            480                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Cyberbahn Federal Solutions
Garden City, NY 11530




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                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Craft Capital                                                            200                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: First Fire Globalopp Fund LLC
Garden City, NY 11530

Craft Capital                                                            360                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Garfield Samuels
Garden City, NY 11530

Craft Capital                                                            880                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Geisha Alomar
Garden City, NY 11530

Craft Capital                                                            80                         Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Howard Edelman
Garden City, NY 11530

Craft Capital                                                            300                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: IBH Capital
Garden City, NY 11530

Craft Capital                                                            400                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Loren Estad
Garden City, NY 11530

Craft Capital                                                            640                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: RBC Julie Zoellin IRA
Garden City, NY 11530

Craft Capital                                                            292                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: RBC Matt Fowles Roth IRA
Garden City, NY 11530



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Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Craft Capital                                                            1,208                      Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: RBC Thomas J Guerin IRA
Garden City, NY 11530

Craft Capital                                                            480                        Warrant
377 Oak Street, Suite 402
Attn: Richard Rizzuto
Re: Robert Bea
Garden City, NY 11530

CVI Investments, Inc.                                                    20,000                     Warrant
101 California Street, Suite 3250
c/o Heights Capital Management
San Francisco, CA 94111

D Stanley Rubenstein                                                     88                         Warrant
3900 Montclair Road
Birmingham, AL 35213

DAVID D SHIVELY REV DYNASTIC TRUST                                       50                         Warrant
116 Westbluff Ct
Bakersfield, CA 93305

Dawson James                                                             127                        Warrant
101 North Federal Highway, Suite 600
Re: JJL Capital Corp
Boca Raton, FL 33432

District 2 Capital Fund LP                                               5,455                      Warrant
175 W Carver St
Huntington, NY 11743

Douglas P Kaufman                                                        1                          Common Stock
33549 WOODLEIGH RD
Cleveland, OH 44124-5264

EDWARD J SKLANKA TTEE SUSAN                                              80                         Warrant
SKLANKA TTEE
82 Goodwin Circle
Hartford, CT 06105

Edward Robinson                                                          1                          Common Stock
2231 W ENTRADA TRAIL UNIT 102
Saint George, UT 84770




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                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

GOLDEN VALLEY TAX SERVICES LLC                                           80                         Warrant
1193 Live Oak Blvd
Yuba, CA 95991

Gregory Yeadon                                                           192                        Warrant
Mariposa Gibbes Hill
Gibbes St Peter, Barbados

Gustavo Rodrigo III                                                      420                        Warrant
9710 SW 14th Street
Miami, FL 33174

H.C.Wainwright & Co.                                                     1,233                      Warrant
430 Park Avenue
Attn: Charles Worthman
New York, NY 10022

H.C.Wainwright & Co.                                                     4,136                      Warrant
430 Park Avenue
Attn: Craig Schwabe
New York, NY 10022

H.C.Wainwright & Co.                                                     19                         Warrant
430 Park Avenue
Attn: Mark Viklund
New York, NY 10022

H.C.Wainwright & Co.                                                     78,950                     Warrant
430 Park Avenue
Attn: Michael Vasinkevich
New York, NY 10022

H.C.Wainwright & Co.                                                     54,139                     Warrant
430 Park Avenue
Attn: Noam Rubinstein
New York, NY 10022

HAROLD S GAULT & EVELYN GAULT                                            1                          Common Stock
JTWROS
2549 N MOUNTAIN AVE
Claremont, CA 91711-1545

HAROLD S GAULT & EVELYN GAULT                                            1                          Common Stock
JTWROS
2549 N MOUNTAIN AVE
Claremont, CA 91711-1545




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                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Henry D. Banaszek                                                        400                        Warrant
2502 Walnut Knob CT
Kinwood, TX 77345

Hudson Bay Master Fund Ltd.                                              10,910                     Warrant
777 Third Avenue, 30th Floor
Attn: George Antonopoulos
New York, NY 10017

Intracoastal Capital, LLC                                                34,598                     Warrant
245 Palm Trail
Delray Beach, FL 33483

James E Bragg                                                            110                        Warrant
1932 Wellington Road
Los Angeles, CA 90016

James P Kelly                                                            1                          Common Stock
9204 69TH AVE
Forest Hills, NY 11375-5818

James Ringer                                                             1                          Common Stock
32 RICHARD SOMERS RD
Granite Springs, NY 10527-1120

John Dowling                                                             1                          Common Stock
50 Holly St
Yonkers, NY 10704-2814

John F Kelly                                                             1                          Common Stock
9204 69TH AVE
Forest Hills, NY 11375-5818

John M O'Connor                                                          1                          Common Stock
8434 CORCORAN RD
Willow Springs, IL 60480-1666

Joseph Gunnar                                                            520                        Warrant
30 Broad Street, 11th Floor
Re: BJI Financial Group
New York, NY 10004

Joseph Gunnar                                                            280                        Warrant
30 Broad Street, 11th Floor
Re: Colpetto Capital LLC
New York, NY 10004



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                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Joseph Gunnar                                                            40                         Warrant
30 Broad Street, 11th Floor
Re: DOMINION CAPITAL LLC
New York, NY 10004

Joseph Gunnar                                                            127                        Warrant
30 Broad Street, 11th Floor
Re: JJL CAPITAL
New York, NY 10004

Joseph Gunnar                                                            4                          Warrant
30 Broad Street, 11th Floor
Re: JOHN C LOWE
New York, NY 10004

Joseph Gunnar                                                            8                          Warrant
30 Broad Street, 11th Floor
Re: MARIA BECKETT
New York, NY 10004

Joseph Gunnar                                                            180                        Warrant
30 Broad Street, 11th Floor
Re: Matthew M. Bogust
New York, NY 10004

Joseph Gunnar                                                            100                        Warrant
30 Broad Street, 11th Floor
Re: Misthos Investment Group LLC
New York, NY 10004

Joseph Gunnar                                                            200                        Warrant
30 Broad Street, 11th Floor
Re: North Woods Capital
New York, NY 10004

Joseph Gunnar                                                            1,000                      Warrant
30 Broad Street, 11th Floor
Re: TMB Pacific Global LLC
New York, NY 10004

Joyce Fensterstock                                                       1                          Common Stock
WESTWOOD PARTNERS
37 PHEASANT HILL RD
Weston, CT 06883-2437

Katrin Holzhaus                                                          1                          Common Stock
655 COLUMBIA ST, #308
San Diego, CA 92101

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                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

KBB Asset Management                                                     8,473                      Warrant
253 West 73, Apt 4C
Attn: Steven Segal
New York, NY 10023

Kelso Neal                                                               1                          Common Stock
223 PROSPECT ST
Lawrence, MA 01841-2831

Kevin M. Cartmell                                                        1                          Common Stock
168 Aspen St
Floral Park, NY 11001-3432

L1 Capital Global Opportunities Master F                                 16,450                     Warrant
135 East 57th Street, Level 23
Attn: Yujie Qiao
New York, NY 10022

Lawrence R. Brandon IRA                                                  400                        Warrant
910 SE 14th Street
Deerfield Beach, FL 33441

Lind Global Macro Fund, LP                                               125,520                    Warrant
444 Madison Avenue, Floor 41
New York, NY 10022

Manish Gupta IRA                                                         240                        Warrant
858 SW 17th ST
Boca Raton, FL 33486

MARGARET M CARTMELL CUST                                                 1                          Common Stock
TIMOTHY R CARTMELL UNDER THE
NY UNIF TRANS MIN ACT
168 ASPEN ST
Floral Park, NY 11001-3432

Margaret M. Cartmell                                                     1                          Common Stock
168 Aspen St
Floral Park, NY 11001-3432

Matthew M Bogust                                                         200                        Warrant
2300 Alice Ann Rd
Thousand Oaks, CA 91320

Mayra C. Vazquez Roth IRA                                                240                        Warrant
16247 SW 83rd Lane
Miami, FL 33193


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Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Michael J Turillo Jr                                                     1                          Common Stock
1708 CASEY KEY RD
Nokomis, FL 34275-3370

NFS LLC CUST ROTH IRA                                                    1                          Common Stock
FBO MICHAEL B. STEPHENS
499 WASHINGTON BLVD
Jersey City, NJ 07310-1995

O C A CONSTRUCTION INC                                                   1                          Common Stock
(AN ILLINOIS CORPORATION)
8434 CORCORAN RD
Willow Springs, IL 60480-1666

ORLANDO E SANTA CRUZ SEP IRA                                             504                        Warrant
10831 NW 48th LN
Doral, FL 33178

OTA LLC                                                                  32,907                     Warrant
One Manhattanville Road
Attn: Vinny DiGeso
Purchase, NY 10577

Patricia Sorbara                                                         73                         Warrant
14 Wood Hollow Lane
Fort Salonga, NY 11768

Patricia Winter                                                          876                        Warrant
159 Jennings Road
Cold Spring Harbor, NY 11724

Patrick J. Cox                                                           1                          Common Stock
412 SCENIC OAK DR
Moore, SC 29369

R.F. Lafferty & Co., Inc.                                                200                        Warrant
40 Wall Street, 19th Floor
Attn: Operations
Re: Ann Totten
New York, NY 10005

R.F. Lafferty & Co., Inc.                                                300                        Warrant
40 Wall Street, 19th Floor
Attn: Operations
Re: Henry Joe
New York, NY 10005




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Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

R.F. Lafferty & Co., Inc.                                                300                        Warrant
40 Wall Street, 19th Floor
Attn: Operations
Re: John Villano
New York, NY 10005

R.F. Lafferty & Co., Inc.                                                300                        Warrant
40 Wall Street, 19th Floor
Attn: Operations
Re: Robert Heidenreich
New York, NY 10005

R.F. Lafferty & Co., Inc.                                                300                        Warrant
40 Wall Street, 19th Floor
Attn: Operations
Re: Robert Preston B. Family Trust
New York, NY 10005

RALPH SCHLENKER & & DONNA                                                88                         Warrant
SCHLENKER JTWR
244 Northwoods Road
Hanhasset, NY 11030

RBC CAPITAL MARKETS LLC CUSTODIAN                                        1,452                      Warrant
THOMAS
20 Red Oak Lane
Cortlandt Manor, NY 10567

RFMF PARTNERS LLC                                                        364                        Warrant
730 Intracoastal Drive
Ft Lauderdale, FL 33304

Richard Christopher                                                      146                        Warrant
38 Sunset Rock Road
Andover, MA 01810

Richard Toselli                                                          146                        Warrant
1052 E Shore Road
Jamestown, RI 02835

Robert B. Baker                                                          2                          Common Stock
87 PONTE VEDRA BLVD
Ponte Vedra Beach, FL 32082-1311

Robert Cartmell                                                          1                          Common Stock
168 Aspen St
Floral Park, NY 11001-3432



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Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Robert Langer                                                            3,420                      Warrant
98 Montvale Road
Newton Center, MA 02459

S.H.N Financial Investments Ltd.                                         4,300                      Warrant
8 Abba Even Blvd, Entrance B, Floor 4
Attn: Meytal Purvin
Herzeliya, Israel 46733-0000

Sabby Volatility Warrant Master Fund Ltd                                 99,739                     Warrant
1000 Wilshire Blvd, Ste 850
ATTN: Client Settlement Wedbush Securiti
Los Angeles, CA 90017

Scott F Ansell                                                           50                         Warrant
2983 Preserve Landing Dr
Jacksonville, FL 32226

Spencer Trask Investment Partners LLC                                    1                          Common Stock
1700 E PUTNAM AVE STE 306
Old Greenwich, CT 06870-1370

ST Neuroscience Partners LLC                                             9                          Common Stock
C/O SPENCER TRASK & CO
1700 E. PUTNAM AVE. STE 306
Old Greenwich, CT 06870-1366

STOURBRIDGE INVESTMENTS LLC                                              144                        Warrant
700 Summit Road
Union, NJ 07083

SW Financial                                                             304                        Warrant
2850 North Federal Hwy, 4th Floor
Attn: John Orlando
Re: Gary Nicolay
Lighthouse Point, FL 33064

SW Financial                                                             99                         Warrant
2850 North Federal Hwy, 4th Floor
Attn: John Orlando
Re: Moses Douglas
Lighthouse Point, FL 33064

SW Financial                                                             1,002                      Warrant
2850 North Federal Hwy, 4th Floor
Attn: John Orlando
Re: William Tuberville
Lighthouse Point, FL 33064

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                                             LIST OF EQUITY SECURITY HOLDERS
                                                               (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

TD AMERITRADE CLEARING INC CUST                                          1                          Common Stock
FBO HAROLD S GAULT - IRA
ATTN CAGE
PO BOX 2226
Omaha, NE 68103-2226

The Hewlett Fund LP                                                      4,000                      Warrant
100 Merrick Road - Suite 400W
Rockville Centre, NY 11570

Thomas Michael Walsh                                                     100                        Warrant
9 Penobscott Way
Andover, MA 01810

Troy E Jones                                                             1                          Common Stock
2959 GARONA DR
Hacienda Heights, CA 91745

Vincent G Scott                                                          1                          Common Stock
9196 QUAIL RIDGE LN
Park City, UT 84098

WARBERG WF IX LP                                                         600                        Warrant
716 Oak St
Attn: Jonathan Blumberg
Winnetka, IL 60093

WAYNE EQUITIES LLC                                                       200                        Warrant
6737 Pisano Drive
Lake Worth, FL 33467

WENDY S FLATH IRA                                                        1                          Common Stock
7081 PINECREST
Park City, UT 84098-5388

William M Strawbridge                                                    1                          Common Stock
11 GRACEFUL ELM CT
Spring, TX 77381-4832

William M Zolleni                                                        120                        Warrant
4553 Lincoln Road
Yuba City, CA 95993




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                                               LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date February 1, 2024                                                    Signature /s/ Richard Christopher
                                                                                        Richard Christopher

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




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Fill in this information to identify the case:

Debtor name         InVivo Therapeutics Holdings Corp.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Consolidated Statement of Corporate Ownership Pursuant to Rules
                                                                1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy
                                                                Procedure

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 1, 2024                X /s/ Richard Christopher
                                                           Signature of individual signing on behalf of debtor

                                                            Richard Christopher
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
